Case: 1:17-cv-03591 Document #: 206-1 Filed: 03/13/20 Page 1 of 10 PageID #:3981
                     STANLEY BOIM v. AMERICAN MUSLIMS FOR PALESTINE
     HAMAYEL                                                            10/17/2018


                                                                               1
 1
                 IN THE UNITED STATES DISTRICT COURT
 2                  NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION
 3
       STANLEY BOIM, Individually              )
 4     and as Administrator of the             )
       Estate of David Boim,                   )
 5     deceased; and JOYCE BOIM,               )
                                               )
 6                        Plaintiffs,          )
                                               )
 7             vs.                             )   Case No.
                                               )   17-cv-03591
 8     AMERICAN MUSLIMS FOR                    )
       PALESTINE; AMERICANS FOR                )
 9     JUSTICE IN PALESTINE                    )
       EDUCATIONAL FOUNDATION;                 )
10     RAFEEQ JABER; ABDELBASSET               )
       HAMAYEL; AND OSAMA                      )
11     ABUIRSHAID,                             )
                                               )
12                        Defendants.          )
13
14                  The deposition of ABDELBASET
15     HAMAYEL, called by the Plaintiffs for
16     examination, taken pursuant to the Federal Rules
17     of Civil Procedure of the United States District
18     Courts pertaining to the taking of depositions,
19     taken before Marianne Nee, a Certified Shorthand
20     Reporter of the State of Illinois, CSR License
21     No. 084-002341, taken at 111 South Wacker Drive,
22     Suite 4100, Chicago, Illinois, on Wednesday,
23     October 17, 2018, commencing at 9:00 a.m.
24



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Case: 1:17-cv-03591 Document #: 206-1 Filed: 03/13/20 Page 2 of 10 PageID #:3982
                    STANLEY BOIM v. AMERICAN MUSLIMS FOR PALESTINE
     HAMAYEL                                                           10/17/2018


                                                                            44
 1     -- either 2005, most likely 2005, sometime 2005.
 2             Q.   And how did you get -- become employed
 3     at KindHearts?
 4             A.   Again, it's just announcements.          They
 5     were looking for somebody and I applied and they
 6     accepted me.
 7             Q.   You saw an ad in a newspaper and you
 8     responded to that?
 9             A.   Yes, hm-hmm.
10             Q.   Do you recall what they were
11     advertising for?
12             A.   Regional representative.
13             Q.   And what was KindHearts in 2005?          What
14     was their business?
15             A.   Charitable organization.
16             Q.   What was the purpose, the charitable
17     purpose?
18             A.   Relief.    You know, relief agency,
19     helping needy people around the globe.
20             Q.   Any particular kind of people?
21             A.   Needy people.
22             Q.   Was it Palestinians or anyone in need?
23             A.   Not only Palestinians but mainly yes.
24             Q.   Who hired you at KindHearts?



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Case: 1:17-cv-03591 Document #: 206-1 Filed: 03/13/20 Page 3 of 10 PageID #:3983
                    STANLEY BOIM v. AMERICAN MUSLIMS FOR PALESTINE
     HAMAYEL                                                           10/17/2018


                                                                            48
 1             A.   No.   Mainly dinners.
 2             Q.   Was that one a year or more than that?
 3             A.   If I remember, it was one, main one in
 4     Chicago, and I reached out to a few mosques, ask
 5     them to allow KindHearts to raise some funds
 6     during Ramadan.
 7             Q.   Is Ramadan a fundraising time in -- for
 8     Palestinian Muslims?
 9             A.   Ramadan is the month of giving, so
10     people would love to give during that month.
11             Q.   How long did you stay involved with
12     KindHearts?
13             A.   Less than two years but more than one
14     year, so I would say 18 months, 15 months, 16.
15     I'm not sure.
16             Q.   So sometime in 2006 or 2007?
17             A.   I think 2006 it was closed down.
18             Q.   You mentioned that one of your sources
19     for fundraising was dealing with the mosques.
20                  You asked them to help --
21             A.   Right.
22             Q.   -- solicit funds or attend fundraising
23     dinners, correct?
24             A.   Right.



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Case: 1:17-cv-03591 Document #: 206-1 Filed: 03/13/20 Page 4 of 10 PageID #:3984
                    STANLEY BOIM v. AMERICAN MUSLIMS FOR PALESTINE
     HAMAYEL                                                           10/17/2018


                                                                            49
 1             Q.   Did you use any mailing lists that you
 2     had assembled at IAP to solicit funds?
 3             A.   No.
 4             Q.   Did you ask people who --
 5             A.   I don't have any.
 6             Q.   Did people -- were there donors for IAP
 7     when you worked there?
 8             A.   I'm sorry?    Again?
 9             Q.   Were there donors, people who gave
10     money?
11             A.   Of course, yeah.
12             Q.   And when you went to work for
13     KindHearts, you didn't solicit any of the donors
14     from IAP?
15             A.   No.   It was acquired like three years
16     after, two, three years after the closing of IAP
17     when I started with KindHearts.
18             Q.   Why did you leave KindHearts in 2006?
19             A.   It closed down by the government.
20             Q.   Did you have any involvement in winding
21     up the affairs of KindHearts?
22             A.   No.
23             Q.   Was that Mr. Somaili?
24             A.   I believe so.



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Case: 1:17-cv-03591 Document #: 206-1 Filed: 03/13/20 Page 5 of 10 PageID #:3985
                    STANLEY BOIM v. AMERICAN MUSLIMS FOR PALESTINE
     HAMAYEL                                                           10/17/2018


                                                                            92
 1     the board of directors at the time you started?
 2             A.   No.
 3             Q.   And you also reported to the president?
 4             A.   He is, I mean --
 5             Q.   That's the same person?
 6             A.   The same person, yes.
 7             Q.   Mr. Jaber was both the chairman of the
 8     board and the president?
 9             A.   Yes, sir.
10             Q.   And he was the only one you reported
11     to?
12             A.   Yes, sir.
13             Q.   This again -- I think this is
14     consistent with your testimony, but I just want
15     to make sure.         This is your best recollection
16     that you stopped your employment with IAP around
17     the end of 2003?
18             A.   Something around that time, yes.
19             Q.   And again, this states that you held no
20     positions with the American Muslim Society, AMS?
21             A.   Right.
22             Q.   This says that you became a volunteer
23     for American Muslims for Palestine in around --
24     in or around December 2008.           Is that consistent



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Case: 1:17-cv-03591 Document #: 206-1 Filed: 03/13/20 Page 6 of 10 PageID #:3986
                    STANLEY BOIM v. AMERICAN MUSLIMS FOR PALESTINE
     HAMAYEL                                                           10/17/2018


                                                                            93
 1     with your recollection?
 2             A.   Yes.
 3             Q.   How did you get involved with the AMP?
 4             A.   Actually I heard they are having an
 5     event in I think March 2009, so it happened
 6     after the attacks on Gaza, December 2008, so I
 7     felt that I need, you know, just to do my part
 8     just to educate the American people about the
 9     cause, so I started to volunteer at AMP.
10             Q.   How did you hear of the AMP?
11             A.   Through the local, you know, social
12     media and local announcements.
13             Q.   People in the community in Bridgeview?
14             A.   Yes.
15             Q.   What did you do as a volunteer for AMP
16     when you started?
17             A.   The first thing I think we had a
18     fundraising dinner in March 2009 if I'm not
19     mistaken, most likely March or February, in
20     Bridgeview area for that organization.
21             Q.   And you had some role in that dinner?
22             A.   Yeah.   I help, you know, organizing the
23     dinner, facilitating and, you know.
24             Q.   And you had skills in that from your



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Case: 1:17-cv-03591 Document #: 206-1 Filed: 03/13/20 Page 7 of 10 PageID #:3987
                    STANLEY BOIM v. AMERICAN MUSLIMS FOR PALESTINE
     HAMAYEL                                                           10/17/2018


                                                                            94
 1     prior employment at --
 2             A.   You could say that, yes.
 3             Q.   Do you recall what you did to help
 4     organize the dinner?
 5             A.   You know, I met with the volunteers a
 6     few times, you know, the facility and the
 7     flyers, the tickets, ticket sale and stuff, you
 8     know.
 9             Q.   Was someone at AMP in charge of that
10     event that you reported to?
11             A.   I remember it was Awad, A-W-A-D,
12     Hamdan, H-A-M-D-A-N, and I believe he was
13     employed by AMP at that time.
14             Q.   Do you know what his employment was,
15     what his title was?
16             A.   I don't remember.
17             Q.   And you knew Mr. Hamdan from the
18     community, correct?
19             A.   Yes.
20             Q.   Did you -- at the time of the dinner,
21     were you already the volunteer executive
22     director for AMP?
23             A.   No.    Right after that time actually,
24     right after that time.



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Case: 1:17-cv-03591 Document #: 206-1 Filed: 03/13/20 Page 8 of 10 PageID #:3988
                    STANLEY BOIM v. AMERICAN MUSLIMS FOR PALESTINE
     HAMAYEL                                                           10/17/2018


                                                                            95
 1             Q.   So you started by volunteering to help
 2     organize the dinner?
 3             A.   Yes, which is back in December 2008 and
 4     early 2009, and right after the dinner I became
 5     the executive director, volunteer executive
 6     director of the organization.
 7             Q.   Do you know who the executive director
 8     was that preceded you?
 9             A.   I don't, but I don't believe they had
10     one.
11             Q.   Do you know who was doing the work of
12     the executive director?
13             A.   In our city it was Awad, Awad Hamdan.
14             Q.   And your understanding was that he was
15     -- he was not a volunteer, he was paid at the
16     time?
17             A.   He was paid, yes.
18             Q.   Did he continue with AMP after you
19     started volunteering as executive director?
20             A.   He did, yes.
21             Q.   And what was his job?
22             A.   Let me try to remember now.        He was the
23     office manager of AMP when he started, yes.
24             Q.   Can you distinguish what his duties



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Case: 1:17-cv-03591 Document #: 206-1 Filed: 03/13/20 Page 9 of 10 PageID #:3989
                      STANLEY BOIM v. AMERICAN MUSLIMS FOR PALESTINE
     HAMAYEL                                                             10/17/2018


                                                                              96
 1     were as opposed to your duties, his duties as
 2     office manager versus your duties as executive
 3     director?
 4             A.     Actually I was asked at that time just
 5     to help putting together the organization on a
 6     sheet and try to rent an office, so -- and I was
 7     full-time employee and I'm still with the Mosque
 8     Foundation, so I had a few hours in the morning.
 9                    I volunteered these hours, so mainly I
10     did not do things other than just oversee things
11     to help the organization start functioning.
12             Q.     You oversaw Mr. Hamdan but he actually
13     did most of the work?
14             A.     Yes, sir.
15             Q.     Were there other people working at AMP
16     at this time?
17             A.     We hired two more employees at that
18     time, yes.
19             Q.     Who were the employees?
20             A.     It's Kristin Szremski.       I think her
21     name is K-R-I-S-T-I-N.           Z-S -- help me out.
22                    MS. JUMP:    I think we can provide the
23             spelling on a break.
24              ///



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Case: 1:17-cv-03591 Document #: 206-1 Filed: 03/13/20 Page 10 of 10 PageID #:3990
                    STANLEY BOIM v. AMERICAN MUSLIMS FOR PALESTINE
     HAMAYEL                                                           10/17/2018


                                                                            98
 1     period, in the beginning, yes.
 2             Q.   He was the only one you ever reported
 3     to at the beginning?
 4             A.   Yes.   Yes, sir.
 5             Q.   And you worked just a few hours a week
 6     at AMP?
 7             A.   Yes.
 8             Q.   You still had your job as the Community
 9     Center director?
10             A.   Yes, sir.
11             Q.   And that was full-time employment?
12             A.   Which one?
13             Q.   The Community Center job --
14             A.   Yes.
15             Q.   -- at the Mosque Foundation.
16             A.   Yes.
17             Q.   Do you still remain the executive
18     director at AMP?
19             A.   Yes, sir.
20             Q.   And that's still a volunteer position?
21             A.   Yes, sir.    They are still looking for
22     somebody.
23             Q.   Have you ever been compensated for
24     that?



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